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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 MICHAEL RICHARDSON,

        Plaintiff,

 v.                                                                 Case No:

 ATLANTIC RECOVERY
 SOLUTIONS, LLC,
                                                                    DEMAND FOR JURY TRIAL
       Defendant.
 _____________________________/


                               PLAINTIFF’S COMPLAINT
                           WITH INJUNCTIVE RELIEF SOUGHT

        COMES NOW, Plaintiff, MICHAEL RICHARDSON (“Mr. Richardson” or

 “Plaintiff”), by and through the undersigned counsel, and hereby sues and files this

 Complaint and Demand for Jury Trial with Injunctive Relief Sought against Defendant,

 ATLANTIC RECOVERY SOLUTIONS, LLC (“Defendant”), and in support thereof

 states as follows:

                                                  Introduction

        1.      This action arises out of an alleged “Debt” or “Consumer Debt” as defined

 by Fla. Stat. § 559.55 (6) and Defendant’s violations of the Fair Debt Collection Practices

 Act, 15 U.S.C. § 1692 et. seq. (“FDCPA”), and the Florida Consumer Collection

 Practices Act, Fla. Stat. § 559.72 et. seq. (“FCCPA”), by contacting Mr. Richardson’s

 parents in connection with the collection of such alleged debt and willfully disclosing

 information affecting Mr. Richardson’s reputation with reason to know Mr. Richardson’s



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 parents did not have a legitimate business need for the information, which can reasonably

 be expected to harass Mr. Richardson.

                                           Jurisdiction and Venue

         2.       This Court has subject matter jurisdiction over the instant case under 28

 U.S.C. §1331.

         3.       Jurisdiction of this Court also arises under 15 U.S.C. § 1692k (d) and Fla.

 Stat. § 559.77 (1).

         4.       Venue lies in this District pursuant to 28 U.S.C. § 1391 (b), as a

 substantial part of the events or omissions giving rise to the claims occurred in this

 judicial district.

                                                        Parties

         5.       Plaintiff, Mr. Richardson, was and is a natural person and, at all times

 material hereto, is an adult, a resident of Pinellas County, Florida, a “consumer” as

 defined by 15 U.S.C. § 1692a (3), and a “debtor” or “consumer” as defined by Fla. Stat. §

 559.55 (8).

         6.       At all times material hereto, Defendant was and is a foreign limited

 liability company with its principle place of business in the State of New York and its

 registered agent, REGISTERED AGENTS, INC. located at 3030 N Rocky Point Drive,

 Suite 150A, Tampa, Florida 33607.

         7.       Further, at all times material hereto, Defendant is a “Consumer Collection

 Agency” as defined by Fla. Stat. § 559.55 (3) and/or a “Debt Collector” as defined by

 Fla. Stat. § 559.55 (7).



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                                            Statements of Fact

        8.      Mr. Richardson opened a credit card account that was assigned a unique

 account number ending in 5102 (“Account”).

        9.      Sometime thereafter, Mr. Richardson encountered financial difficulties

 that caused him to fall behind on his monthly payments and incur an outstanding balance

 owed on the Account (“Debt”).

        10.     Defendant was assigned Mr. Richardson’s Account several years later for

 collection purposes.

        11.     In or around June 2018, Defendant began placing calls to Mr. Richardson

 in attempts to collect the Debt.

        12.     Defendant also began placing calls to Mr. Richardson’s parents

 (“Parents”) in or around June 2018 in attempts to collect the Debt.

        13.     Mr. Richardson’s Parents immediately contacted Mr. Richardson asking if

 he owed Defendant money and if he had trouble paying his bills.

        14.     Extremely embarrassed, Mr. Richardson immediately contacted Defendant

 and demanded that Defendant stop calling his Parents.

        15.     Mr. Richardson entered into a settlement arrangement with Defendant

 where Mr. Richardson would make monthly payments toward the Account until the Debt

 was satisfied (“Arrangement”).

        16.     Accordingly, Mr. Richardson began making payments to Defendant

 toward the Account pursuant to the Arrangement.




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        17.       Despite Mr. Richardson’s timely payments towards the Account pursuant

 to the Arrangement, Defendant continued to contact Mr. Richardson’s Parents regarding

 the Debt.

        18.       On August 30, 2018, Defendant sent Mr. Richardson a collection letter

 both to his e-mail and to his home address that demanded a “current settlement balance”

 owed of $143.25, a “current balance” of $286.50, identified the Account number, stated

 that “[t]his is an attempt to collect a debt, by a debt collector; any information will be

 used for that purpose. This is a communication from a debt collector,” instructed Mr.

 Richardson to call Defendant’s office telephone number to make arrangements to pay

 such Debt, and threatened that should payment not be remitted, Mr. Richardson’s

 “settlement arrangement will be null and void” (“Collection Letter”). See Exhibit A.

        19.       In or around September 2018, Mr. Richardson made his last payment to

 Defendant under the Arrangement and satisfied the Debt in full.

        20.       On the same day of Mr. Richardson’s last payment, however, Defendant

 called his Parents once again, specifically asked for his father by name, and told his

 father that Defendant needed to speak to him about the Debt.

        21.       Despite Mr. Richardson’s repeated demands for Defendant to stop calling

 his Parents, Defendant continued to place calls to Mr. Richardson’s Parents in attempts to

 collect Mr. Richardson’s Debt, even after Mr. Richardson paid the Debt in full.

             Count 1: Violation of the Fair Debt Collection Practices Act (“FDCPA”)

        22.       Mr. Richardson re-alleges paragraphs 1-21 and incorporates the same

 herein by reference.



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        23.      Mr. Richardson is a “consumer” within the meaning of the FDCPA.

        24.      The subject debt is a “consumer debt” within the meaning of the FDCPA.

        25.      Defendant is a “debt collector” within the meaning of the FDCPA.

        26.      Defendant violated the FDCPA. Defendant’s violations include, but are

 not limited to, the following:

              a. Defendant violated 15 U.S.C. § 1692c (b) by contacting

                 Mr. Richardson’s Parents regarding his Debt, even after the

                 Debt was paid in full under the Arrangement.

              b. Defendant violated 15 U.S.C. § 1692d (5) by causing Mr.

                 Richardson’s Parents’ phones to ring repeatedly which can

                 reasonably be expected to harass Mr. Richardson.

        27.      As a result of the above violations of the FDCPA, Mr. Richardson has

 been subjected to illegal collection activities for which he has been damaged.

        28.      Defendant’s actions have damaged Mr. Richardson by invading his

 privacy.

        29.      Defendant’s actions have damaged Mr. Richardson by causing him

 embarrassment.

        30.      Defendant’s actions have damaged Mr. Richardson by causing him

 emotional distress.

        31.      Defendant’s actions have damaged Mr. Richardson by causing him

 annoyance.

        32.      Defendant’s actions have damaged Mr. Richardson by causing him stress.



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          33.    Defendant’s actions have damaged Mr. Richardson by causing him

 aggravation.

          34.    Defendant’s actions have damaged Mr. Richardson by causing him

 anxiety.

          35.    Defendant’s actions have damaged Mr. Richardson by harming his

 reputation.

          36.    It has been necessary for Mr. Richardson to retain the undersigned counsel

 to prosecute the instant action, for which he is obligated to pay a reasonable attorney’s

 fee.

          37.    All conditions precedent to this action have occurred.

          WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

 against Defendant as follows:

                 a. Awarding           statutory        damages          as     provided            by   15   U.S.C.

                    1692k(a)(2)(A);

                 b. Awarding actual damages;

                 c. Awarding costs and attorneys’ fees; and

                 d. Any other and further relief as this Court deems equitable.

        Count 2: Violation of the Florida Consumer Collection Practices Act (“FCCPA”)

          38.    Mr. Richardson re-alleges paragraphs 1-21 and incorporates the same

 herein by reference.

          39.    Defendant violated the FCCPA. Defendant’s violations include, but are

 not limited to, the following:



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              a. Defendant violated Fla. Stat. § 559.72(5) by willfully

                 disclosing to a person other than Mr. Richardson

                 information affecting Mr. Richardson’s reputation, whether

                 or not for credit worthiness, with knowledge or reason to

                 know that his Parents did not have a legitimate business

                 need for the information.

              b. Defendant violated Fla. Stat. § 559.72(7) by willfully

                 communicating with Mr. Richardson’s Parents regarding

                 Mr. Richardson’s Debt with such frequency as can

                 reasonably be expected to harass Mr. Richardson.

        40.      As a result of the above violations of the FCCPA, Mr. Richardson has

 been subjected to unwarranted and illegal collection activities and harassment for which

 he has been damaged.

        41.      Defendant’s actions have damaged Mr. Richardson by invading his

 privacy.

        42.      Defendant’s actions have damaged Mr. Richardson by causing him

 embarrassment.

        43.      Defendant’s actions have damaged Mr. Richardson by causing him

 emotional distress.

        44.      Defendant’s actions have damaged Mr. Richardson by causing him

 annoyance.

        45.      Defendant’s actions have damaged Mr. Richardson by causing him stress.



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         46.    Defendant’s actions have damaged Mr. Richardson by causing him

 aggravation.

         47.    Defendant’s actions have damaged Mr. Richardson by causing him

 anxiety.

         48.    Defendant’s actions have damaged Mr. Richardson by harming his

 reputation.

         49.    It has been necessary for Mr. Richardson to retain the undersigned counsel

 to prosecute the instant action, for which he is obligated to pay a reasonable attorney’s

 fee.

         50.    All conditions precedent to this action have occurred.

         WHEREFORE, Plaintiff respectfully requests this Court to enter a judgment

 against Defendant as follows:

                a. Awarding statutory damages as provided by §559.77, Fla. Stat.;

                b. Awarding actual damages;

                c. Awarding punitive damages;

                d. Awarding costs and attorneys’ fees;

                e. Ordering an injunction preventing further wrongful contact by the

                    Defendant; and

                f. Any other and further relief as this Court deems equitable.

                                  DEMAND FOR JURY TRIAL

        Plaintiff, Michael Richardson, demands a trial by jury on all issues so triable.




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  Respectfully submitted this November 21, 2018,

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